

ORDER

PER CURIAM.
AND NOW, this 20th day of June, 2006, the Application for Leave to File Petition for Review Nunc Pro Tunc is granted, and, upon consideration of the Report and Recommendations of the Disciplinary Board dated February 13, 2006, the Petition for Review and responses thereto, the request for oral argument is denied pursuant to Rule 208(e)(4), Pa.R.D.E., and it is hereby
ORDERED that Michael Levine be and he is suspended from the Bar of this Commonwealth for a period of one year and one day, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
